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                                                                                           E-FILED
                                                          Wednesday, 05 February, 2020 04:03:50 PM
                                                                      Clerk, U.S. District Court, ILCD
                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

MARK COOPER,

       Plaintiff,
                                                  Case No.: 3:1 7-cv-03 1 02-RM-TSH
V.



BEELMAN TRUCK CO.,

       Defendant.


                               ENTRY OF APPEARANCE

       Conor P. Neusel, by and through the law firm Thompson Coburn LLP, enters his

appearance on behalf of Defendant Beelman Truck Co. in the above -captioned matter.


                                           Respectfully submitted,

                                           THOMPSON COBURN LLP



                                           By Is! Conor P. Neusel
                                              R. Nelson Williams, IL - 6307334
                                              Conor P. Neusel, IL - 6315604
                                              One US Bank Plaza
                                              St. Louis, Missouri 63101
                                              314-552-6000
                                              FAX 314-552-7000
                                              rwilliams@thompsoncoburn.com
                                              cneusel@thompsoncobum.com

                                          Attorneys for Defendant Beelman Truck Co.
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                                 CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that a copy of the foregoing Entry of Appearance
was filed electronically upon the court's electronic filing system this 5th day of February, 2020
which will send notification to:

Alejandro Caffarelli, #06239078
Alexis D. Martin, #06309619
Caffarelli & Associates, Ltd.
224 S. Michigan Ave., Ste. 300
Chicago, IL 60604

Attorneys for Plaint iff




                                                           Is! Conor P. Neusel




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